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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF IOWA

 UNITED STATES OF AMERICA,                                       4:17-cr-51-RP-HCA

          Plaintiff(s),

 VS.


 VIANET FLORES,

          Defendant( s).

       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

        The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant entered

a plea of guilty to Count(s) 1 of the Indictment. After cautioning and examining the Defendant

under oath concerning each of the subjects mentioned in Rule 11, I determined that the guilty

plea(s) was/were knowing and voluntary as to each count, and that the offense(s) charged is/are

supported by an independent factual basis concerning each of the essential elements of such

offense(s). Defendant understands and agrees to be bound by the terms of the plea agreement. I,

therefore, recommend that the plea(s) of guilty be accepted, that a pre-sentence investigation and

report be prepared, and that the Defendant be adjudged guilty and have sentence imposed

accordingly.




                                                 HELEN C. ADAMS
                                                 CHIEF U.S. MAGISTRATE JUDGE

                                            NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(l)(B).
